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                                                                                    E-FILED
                                                Wednesday, 29 September, 2021 05:16:00 PM
                                                               Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF ILLINOIS
                     URBANA DIVISION

UNITED STATES OF AMERICA,               )
                                        )
     Plaintiff,                         )
                                        )
     v.                                 )       Case No. 04-CR-20001
                                        )
ANTONIO SHERROD,                        )
                                        )
     Defendant.                         )


                         ORDER AND OPINION

SUE E. MYERSCOUGH, U.S. District Judge.

     Before the Court is the Government’s Motion to Reconsider the

Court’s Order for Additional DNA Testing Pursuant to 18 U.S.C.

§ 3600 (d/e 148). For the reasons stated below, the Court finds

that no further DNA testing is warranted and GRANTS the

Government’s Motion (d/e 148).

                           I. BACKGROUND

     For ease of reference, the Court has reproduced the underlying

facts as previously summarized in the Court’s March 3, 2020 Order

and Opinion (d/e 142):




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      In March of 2003, Stephen Prendergast stopped at a gas

station in Kankakee, Illinois, around midnight. Prendergast was

driving to Champaign, Illinois, with his girlfriend in a 2003 Cadillac

Escalade. While Prendergast went inside the gas station’s

convenience store, a Dodge Intrepid parked at a gas pump adjacent

to the Escalade. When Prendergast returned to the Escalade, an

individual exited the Intrepid and shot Prendergast at point-blank

range after demanding the keys to the Escalade. Prendergast died

shortly afterward from a bullet that pierced his heart.

      Prendergast was a resident of Matteson, Illinois, located north

of Kankakee, Illinois. His girlfriend, Regan Booker,1 also lived in

Matteson. Regan Booker, Loren Booker (Regan’s sister), and

Loren’s friend, Tiffany Sanders, attended Parkland College in

Champaign, Illinois. They often travelled back and forth between

Matteson and Champaign.


1 The witness’s name has alternatively been spelled “Regan” and “Reagan”
throughout various documents in this case. Compare Pet. Mot. (d/e 130),
Gov’t Resp. (d/e 134), and United States v. Sherrod, 445 F.3d 980, 981 (7th
Cir. 2006) (all spelling witness’s name as “Regan”), with Gov’t Witness List (d/e
36); Sherrod v. United States, Case No. 08-cr-2013 (C.D. Ill.), Order (d/e 16)
(spelling witness’s name as “Reagan”). As the parties appear to agree for the
purpose of this Motion that the witness’s name is spelled “Regan,” the Court
will adopt that spelling as well.

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     On March 16, 2003, Prendergast, Regan Booker, Loren

Booker, and Tiffany Sanders departed from Matteson on their way

to Champaign. Prendergast and Regan Booker rode in

Prendergast’s Escalade, while Loren Booker and Sanders travelled

in a second car.

     Shortly before midnight, the group stopped at the Amoco gas

station in Kankakee. Prendergast parked his Escalade near one of

the gas pumps. Sanders parked the second car on the opposite

side of the same pump island. Prendergast entered the adjacent

convenience store, while the others waited outside.

     Video evidence showed that while Prendergast was in the

store, a tan or gold Dodge Intrepid arrived at the gas station, slowly

circled around the Escalade, and parked at an adjacent pump

island. An individual, later shown to be the perpetrator, was in the

backseat on the passenger side of the Intrepid. He got out of the

Intrepid, and then went back to put on a black jacket. He

approached the front of the store and then returned to the Intrepid,

which had pulled up to the store to meet him. After the perpetrator

got back into the Intrepid, the Intrepid again drove slowly past the

Escalade and left the gas station.
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     Shortly after the Intrepid departed from the gas station,

Prendergast left the store and returned to the Escalade.

Immediately after Prendergast and Regan Booker entered the

Escalade, the perpetrator, brandishing a 9 mm gun and wearing a

black Carhartt jacket, confronted Prendergast at the driver’s door

and shot him through the left arm. The bullet traveled through

Prendergast’s arm and into the left side of his lower chest, piercing

his heart.

     Regan Booker jumped out of the Escalade, ran to the back,

and peered around the vehicle to where the perpetrator and

Prendergast were standing. The perpetrator demanded the keys to

the Escalade and attempted to shoot Prendergast a second time,

but the gun malfunctioned. Regan Booker saw the perpetrator’s

face as Prendergast, who was doubled over, slid the Escalade’s keys

to him. As the perpetrator fled the gas station in the Escalade,

Prendergast collapsed on the gas station lot. The incident was

captured on video by the store’s security system.

     The incident was also witnessed by Shay Guttendorf, a store

employee, who called 911. An ambulance and law enforcement



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officers arrived at the scene shortly after the 911 call. Prendergast

was rushed to the hospital, but he died from the gunshot wound.

     The perpetrator stole the Escalade, but police found the

vehicle abandoned several hours later in an area north of the gas

station. A short distance from the Escalade, police recovered a

black Carhartt jacket and the handgun used in the attack.

     The police investigation soon identified Defendant Antonio

Sherrod as a suspect in the crime. A fingerprint analysis

determined that Sherrod’s fingerprints were found inside the

Escalade, on the steering wheel and the driver’s door. Forensic

evidence linked the bullet fragment that caused Prendergast’s death

to the handgun found near the scene. Evidence from various

witnesses also linked the handgun found near the Escalade to

Sherrod, who witnesses claimed had stolen it just weeks prior to the

shooting. At trial, Sherrod attacked the credibility of these

witnesses, in part, based on their inconsistent statements and on

the promises of immunity they were given by the Government in

exchange for their testimony.

     Later, at Sherrod’s request, analysis was also done on the

black Carhartt jacket found near the Escalade. A report from the
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Illinois State Police Division of Forensic Services determined the

jacket contained DNA that was linked to at least three people, but a

stain on the wrist of the jacket and hair found on the jacket did not

contain enough information to make positive identification. Resp.

Ex. B at 12–15 (d/e 134-1). DNA retrieved from hair found on the

jacket revealed that Sherrod could not be excluded as a source for

the DNA, which experts testified could only have come from a

person within a group comprising .25% of the North American

population.

     In late 2003, after the investigation had identified Sherrod as a

possible suspect, Regan Booker and Shay Guttendorf were shown a

six-person photo array that contained Sherrod’s photograph. Both

women identified Sherrod as the person who shot Prendergast. The

defense questioned the credibility of these witnesses.

     On December 8, 2003, Sherrod was charged in a criminal

complaint and this case, in the United States Central District of

Illinois, was opened. Complaint (d/e 1). Sherrod was arrested and

taken to the Kankakee Police Department. Lieutenant Pat Kane of

the Kankakee Police Department and Special Agent Dennis

Fritzsche planned to interview Sherrod and activated a video
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recorder. Sherrod appeared upset about being arrested and asked,

“What this all about, man?” Eventually, Sherrod stated that he did

not want to be recorded and the officers turned off the video.

Officers testified that, after receiving Miranda warnings, Sherrod

was told by Kane that he was under arrest for car-jacking and

murder. During the interview, Sherrod first denied that he had ever

been inside the Cadillac Escalade. Without being told about the

evidence against him, Sherrod made statements including: “I’ll bet

the video don’t show my real face, do it?,” that the woman in the

front seat of the vehicle “can’t identify me,” and that you “[c]an’t

trust those whores at the gas station.” He also denied that his

fingerprints would be found on the gun or in the vehicle. After less

than 15 minutes, Sherrod invoked his right to counsel and the

interview was terminated.

     On December 9, 2003, Sherrod was transported to the Federal

Courthouse in Urbana, Illinois. After observing that Sherrod

appeared highly agitated, a Deputy U.S. Marshal requested that

Special Agent Fritzsche attempt to calm him down. After Fritzsche

approached Sherrod’s cell, Sherrod volunteered that he should not

be in trouble if he had only tried to steal the radio.
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     Sherrod’s case proceeded to a five-day jury trial in the Central

District of Illinois in October 2004. At trial, the Government’s

theory was that Sherrod’s friend, Derrick Crawford, had driven the

Dodge Intrepid, that Sherrod had exited the vehicle at the gas

station, and that Sherrod was later the perpetrator in the crime.

The defense theory was that Derrick Crawford was the true

perpetrator and that Sherrod was not involved in the murder or

carjacking. On October 20, 2004, the jury found Sherrod guilty of

carjacking with the intent to cause death and serious bodily harm

(18 U.S.C. § 2119(3)), carrying and using a firearm to commit first

degree murder (18 U.S.C. §§ 924(c)(1)(A)(iii), (D)(ii) and (i)(1)), and

felon in possession of a firearm (18 U.S.C. § 922(g)(1)). Jury Verdict

(d/e 69, 70, 71).

     On February 11, 2005, District Judge Michael P. McCuskey

sentenced Sherrod to two consecutive terms of life imprisonment.

Judgment (d/e 91). Sherrod appealed his conviction, challenging

the jurisdictional basis of the carjacking conviction, the trial court’s

admission of statements made after his arrest, and the

determination of his sentence. United States v. Sherrod, 445 F.3d



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980, 981 (7th Cir. 2006). The Seventh Circuit rejected each

challenge and affirmed Sherrod’s conviction. Id.

     Sherrod subsequently filed a Motion to Vacate, Set Aside, or

Correct his sentence under 28 U.S.C. § 2255. Mot. to Vacate, Case

No. 08-CV-02013, (d/e 1). In conjunction with his § 2255 motion,

Sherrod also filed a motion requesting additional DNA testing of the

hair found at the scene of the crime and the stains on the jacket.

Mot. Requesting Discovery, Case No. 08-CV-02013, (d/e 3). The

Court denied Sherrod’s § 2255 motion, finding that Sherrod was not

entitled to relief on any of the grounds raised. The Court also

denied Sherrod’s motion requesting discovery, finding that Sherrod

failed to show good cause for the discovery or that a constitutional

violation occurred during his trial. Opinion 29–30, Case No. 08-CV-

02013, (d/e 16).

     Sherrod filed a Motion Requesting Post-Conviction DNA

Testing Pursuant to 18 U.S.C. § 3600 on July 12, 2018. Def. Mot.

(d/e 130). Sherrod asserted that he is innocent of the charges and

that he was framed. Sherrod moved under 18 U.S.C. § 3600 to

have additional DNA testing performed on the hairs and sweat

found on the black Carhartt jacket. Specifically, Sherrod stated
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that there were hairs found on the jacket, a “Negroid head-hair

fragment, additional human hairs, and one (1) apparent

eyebrow/eyelash.” Id. at 10. Additionally, there were sweat stains

on the wrist area, neck area, and chest of the jacket. The results of

the sweat stain that was tested prior to trial revealed that it

belonged to three different contributors, but the test could not

identify a particular person. Id.

     Sherrod asserted that a new form of DNA testing known as

“low-copy-number” analysis would allow for a more accurate DNA

profile of the individual he asserts was the murderer. Sherrod also

asserted that:

     Today, most large labs have access to cutting-edge
     extraction kits capable of obtaining usable DNA from the
     smallest of samples, like so called touch DNA (a smear
     thumbprint on a window, or a speck of spit invisible to
     the eye), and of identifying individual DNA profiles in
     complex mixtures, which include genetic material from
     multiple contributors.

Id. at 14. Further, Sherrod stated “[a] Pittsburg[h] based company,

Cybergenetics has the capabilities in testing the sweat, and hair

fibers located on the Black Carhartt Jacket [and] even re-analyze

the one (1) hair fiber that was tested.” Id. at 15.



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     In response, the Government argued that Sherrod has failed

to meet all ten of the requirements under 18 U.S.C. § 3600 and,

therefore, his motion must be denied. (d/e 134). The Government

reports that the head hair fragment submitted for DNA testing

during the trial was consumed during the testing, so no longer

exists. Id. at 12. However, the Government does have

possession of the additional head/eyebrow/eyelash hairs found on

the jacket and possible stain evidence found in the left wrist area of

the jacket. Id. Sherrod submitted a Reply on January 25, 2019

(d/e 137), which included an Affidavit of Innocence (d/e 137-1).

     On March 3, 2020, this Court granted Sherrod’s Motion and

appointed the Federal Public Defender for Sherrod for purposes of

coordinating the DNA testing. See d/e 142.

     On July 29, 2020, the Government filed the instant Motion to

Reconsider the Court’s Order (d/e 148). After his counsel requested

multiple extensions of time to file a response, Sherrod sent a letter

to the Court seeking to have the Court order immediately all the

DNA retested. See d/e 151. Sherrod’s letter disclosed that his

attorney had worked with Cybergenetics to analyze the DNA profiles

previously taken from the Carhartt jacket. This analysis matched
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Sherrod’s DNA to one of the contributors on the inner wristband of

the Carhartt jacket. Sherrod also attached a letter from his

attorney that stated, while this analysis was not “formal” or

“confirmed,” that there was no reason to believe that the results

could change.

     Shortly after Sherrod sent his letter to the Court, Sherrod’s

counsel moved to withdraw, d/e 152, which the Court granted.

Sherrod next filed an additional letter, d/e 153, explaining other

non-DNA related evidence he believes has been suppressed. On

May 3, 2021, Sherrod filed a response to the Government’s motion.

See d/e 156. This order now follows.

                      II. LEGAL STANDARD

     “[M]otions to reconsider in criminal prosecutions are proper

and will be treated just like motions in civil suits.” See United

States v. Rollins, 607 F.3d 500, 502 (7th Cir. 2010). Under Federal

Rule of Civil Procedure 59(e), courts are able to correct their own

errors and avoid unnecessary appeals. Miller v. Safeco Ins. Co. of

Am., 683 F.3d 805, 813 (7th Cir. 2012) (internal citation omitted);

see also, Vesely v. Armslist LLC, 762 F.3d 661, 666 (7th Cir. 2014)



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(“[W]e have held that a Rule 59(e) motion is not to be used to

‘rehash’ previously rejected arguments”).

                          III. DISCUSSION

     As discussed in depth in the Court’s prior Order, motions for

postconviction DNA testing made pursuant to 18 U.S.C. § 3600

must fulfill ten requirements before testing will be authorized.

United States v. Thomas, 597 Fed. Appx. 882, 884 (7th Cir. 2015).

In its motion for reconsideration, the Government argues that the

requirement under 18 U.S.C. § 3600(a)(8) has not been met. This

subsection requires that the DNA testing requested must have the

potential to “produce new material evidence that would . . .raise a

reasonable probability that the applicant did not commit the

offense.” 18 U.S.C. § 3600(a)(8).

     In the Court’s prior Order, the Court found this requirement

was met because Sherrod’s motion called into question the

mitochondrial DNA evidence extracted from the hair found on the

jacket. And, the Court found, that evidence conclusively showing,

contrary to the mitochondrial DNA analysis presented at trial, “that

none of the DNA evidence on the jacket belonged to Sherrod could

create a reasonable probability that he was not the perpetrator.”
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     However, the Government has presented additional evidence

that, despite subsequent criticism of the mitochondrial DNA

analysis used at the trial, the analysis was accurate. At trial,

Sherrod’s DNA Expert, Dr. Terry Melton, testified that Sherrod

could not be excluded as a source for the DNA from the hair, which

could only have come from a person within a group comprising

.25% of the North American population. Dr. Melton used the

“SWGDAM” database to make this determination. This hair was

consumed during the DNA testing. In his motion, Sherrod

presented evidence that the SWGDAM database had since been

subject to criticism and may not have been accurate. However, as

the Government’s expert, Ms. Dimick, explains, criticisms of the

database does not impact the original mtDNA analysis of the hair

fragment conducted by Dr. Melton. Put another way, the

mitochondrial DNA profile created by Dr. Melton has not been

challenged. Rather, Sherrod’s motion highlighted criticism of the

database that Dr. Melton used to find that the mitochondrial DNA

profile came from a group comprising .25% of the North American

population.



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     Ms. Dimick explains that the SWGDAM database has been

replaced by the EMPOP database under current convention. Ms.

Dimick recently used the mitochondrial DNA profile created from

the hair fragment from the jacket and that of Sherrod and

compared them using the EMPOP database. The results of that

analysis confirmed the accuracy of the initial mtDNA analysis

conducted by Dr. Melton. Specifically, Ms. Dimick reported that:

     31. Irrespective of the database used greater than 99% of
     the North American population can be excluded as
     having the mitochondrial DNA type found in the 2454Ql
     hair.

     32. Additional testing will not negate the findings of
     Mitotyping Technologies. The mitochondrial DNA
     sequences of 2454Ql and 2454Kl are the same.
     Therefore, Antonio Sherrod and his maternal relatives are
     not excluded as the contributor of the questioned hair.

Gov’t Motion to Reconsider, Exhibit 2, d/e 148-2. While Sherrod

posits that this new database might suffer from defects as well, he

has presented no evidence or support for his argument.

     The Court agrees that with the validity of the mitochondrial

DNA evidence no longer in question, no further DNA testing is

warranted. Sherrod can no longer plausibly meet the requirement

under 18 U.S.C. § 3600(a)(8) because Sherrod can no longer


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plausibly rebut the previous evidence that tied the perpetrator’s

clothing to him. As discussed in the Court’s previous order, the

Seventh Circuit addressed the burden of subsection (a)(8) in United

States v. Thomas, 597 Fed. Appx. 882 (7th Cir. 2005). There, the

defendant had been convicted of drug trafficking crimes and moved

for DNA testing of bags of drugs found near the scene of the crime.

Id. at 885. At trial, the prosecution had presented testimony from

several eyewitnesses to multiple drug transactions. Moreover, “[t]he

fingerprint expert acknowledged that identifiable prints had not

been found on the plastic bags.” Id. In light of this evidence, the

Seventh Circuit found that even “if Thomas’s DNA is not detectable

on the bags, as he hopes, it does not call into question the strength

of the evidence against him because forensic evidence that he

touched the bags was never used to support the government’s

eyewitness statements.” Id. Additionally, the Seventh Circuit noted

that an absence of the defendant’s “DNA on the bags would not

definitively show that he never touched them or that he wasn’t

involved in a conspiracy to sell drugs.” Id. Accordingly, the

Seventh Circuit concluded that the lack of the defendant’s DNA on

the bags would not establish a reasonable probability that the
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defendant did not commit the offense. Thomas, 597 Fed. Appx. at

885.

       Without being able to rebut the mitochondrial DNA evidence

on the jacket, Sherrod’s case is no longer distinguishable from

Thomas. Even if DNA testing reveals that the DNA of others is

present in the sweat stain, the fact that other individuals’ DNA was

on the jacket was presumed at trial: experts testified that the DNA

from the sweat stain came from three separate individuals. Like

Thomas, even if Sherrod’s DNA is not found on the jacket in

additional testing, it would “not call into question the strength of

the evidence against him.”

       The Government also points to 18 U.S.C. § 3600(g), which

outlines the procedure for allowing a motion for a new trial if the

defendant obtains favorable DNA test results:

       (1) . . . if DNA test results obtained under this section
       exclude the applicant as the source of the DNA
       evidence, the applicant may file a motion for a new trial
       or resentencing, as appropriate. . . .

       (2) . . . The court shall grant the motion of the applicant
       for a new trial or resentencing, as appropriate, if the DNA
       test results, when considered with all other evidence in
       the case (regardless of whether such evidence was
       introduced at trial), establish by compelling evidence that
       a new trial would result in an acquittal of . . . the Federal
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     offense for which the applicant is sentenced to
     imprisonment . . . .

18 U.S.C.A. § 3600(g). This section is not necessarily applicable to

the burden Sherrod needs to meet to obtain new DNA testing, but

this section does highlight the futility of further testing. No matter

the results of further DNA testing, Sherrod will be unable to file a

motion for a new trial because he cannot be excluded as the source

of the DNA evidence.

     Finally, the Court notes that Sherrod has also presented

evidence that further DNA testing would be futile. See d/e 151.

Sherrod has reported that additional DNA analysis has been

conducted on the sweat stains from the jacket. Sherrod’s former

counsel, federal public defendant Rosana Brown, worked with Dr.

Perlin at Cybergenetics to analyze the DNA profiles previously taken

from the Carhartt jacket. This analysis matched Sherrod’s DNA to

one of the contributors on the inner wristband of the Carhartt

jacket. These results have not been formally presented to the Court

by an expert, so the Court declines to base the Court’s decision on

this evidence. However, the Court notes that Sherrod has, in fact,

already obtained much of the additional DNA analysis he requested.


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Even if Sherrod is actually innocent as he claims and he has been

framed by the Government and others, further DNA testing and

analysis will not help Sherrod with his quest for exoneration.

     The Court also notes that Sherrod argues that he received

ineffective assistance of counsel when Ms. Brown allowed Dr. Perlin

to use the DNA profiles that had previously been created from the

sweat stains on the Carhartt jacket. It is not clear how counsel

could have been ineffective for seeking and obtaining additional

DNA analysis for Sherrod when he was arguing he was actually

innocent and that his DNA would not be on the jacket. Moreover,

the Court does not base the decision here on the evidence obtained

from this analysis, so Sherrod cannot show prejudice either.

                            IV. CONCLUSION

     For the reasons stated above, the Court finds that no further

DNA testing is warranted and GRANTS the Government’s Motion

(d/e 148). The Court has reconsidered its previous order (d/e 142)

and now DENIES Defendant Sherrod’s Motion Requesting Post-

Conviction DNA Testing Pursuant to 18 U.S.C. § 3600 (d/e 130)




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because he cannot meet the prerequisite under 18 U.S.C.

§ 3600(a)(8) for obtaining DNA testing.



ENTERED: September 29, 2021


FOR THE COURT:            /s/ Sue E. Myerscough
                          SUE E. MYERSCOUGH
                          UNITED STATES DISTRICT JUDGE




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